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                                                                                                      E-FILED
                                                                             Friday, 03 June, 2022 02:31:37 PM
                                                                                  Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

Maria Lopez and Alexis Brown, individually                         2:21-cv-02317-CSB-EIL
and on behalf of all others similarly situated,
                                   Plaintiffs,

                     - against -

Amazon.com, Inc.,
                                   Defendant


           JOINT STIPULATION RE FIRST AMENDED COMPLAINT AND BRIEFING
                                  SCHEDULE

          Plaintiffs Maria Lopez and Alexis Brown (collectively, “Plaintiffs”) and Defendant

Amazon.com, Inc. (“Amazon”), by and through the undersigned counsel, stipulate and agree as

follows:

          WHEREAS, on December 25, 2021, Plaintiffs filed the Complaint (Dkt. #1);

          WHEREAS, on May 10, 2022, Amazon filed a Motion to Dismiss the Complaint for lack

of personal jurisdiction and failure to state a claim (Dkt. #5);

          WHEREAS, Amazon’s Motion to Dismiss argued, among other things, that Amazon

cannot be held liable for the actions of a subsidiary, Ring LLC (“Ring”) (Dkt. #5 at 1 & n.1);
          WHEREAS, on May 24, 2022, Plaintiffs filed its Opposition to the Motion to Dismiss

(Dkt. #12);

          WHEREAS, Plaintiffs’ Opposition seeks the Court’s leave to file a [Proposed] First

Amended Class Action Complaint (“FAC”), which dismisses Amazon and adds Ring as a

defendant (Dkt. #12-1);

          WHEREAS, Amazon consents to the filing of the FAC pursuant to Fed. R. Civ. P. 15(a)(2);




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          WHEREAS, this stipulation is not intended to be and is not a waiver of any defendant’s

defenses, arguments, or rights, including, without limitation, the right to seek dismissal of the FAC

and the right to seek to compel arbitration, as appropriate;

          WHEREAS, the Parties have agreed that the deadline to respond to the FAC (either by

motion or answer) shall be July 29, 2022; and, if applicable, Plaintiffs’ deadline to oppose any

such motion(s) shall be August 29, 2022;

          IT IS HEREBY STIPULATED by and between all Parties hereto, by and through their

undersigned counsel, that: (1) Amazon consents to the filing of the FAC, dismissing Amazon from

this action; (2) Plaintiffs will file the same version of the FAC as in Docket #12-1 within one court

day of the Court order granting leave to amend; (3) the deadline to respond to the FAC shall be

July 29, 2022; and (4) if applicable, Plaintiffs’ deadline to oppose any such motion(s) shall be

August 29, 2022. A proposed order is filed concurrently with this Stipulation as Exhibit A.


Dated:      June 3, 2022

Respectfully submitted,

Sheehan & Associates, P.C.                         Hueston Hennigan LLP

/s/ Spencer Sheehan                                 /s/ Craig A. Fligor
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                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
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Maria Lopez and Alexis Brown, individually                       2:21-cv-02317-CSB-EIL
and on behalf of all others similarly situated,
                                  Plaintiffs,

                    - against -

Amazon.com, Inc.,
                                  Defendant
                                     CERTIFICATE OF SERVICE

I certify that on   June 3, 2022     , I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

Spencer Sheehan (spencer@spencersheehan.com) and I certify that I have mailed by United

States Postal Service the document to the following non CMECF participants:

n/a                                                                                                 .

                                                        /s/ Craig A. Fligor
                                                                   Attorney’s signature

                                                              Craig A. Fligor (IL 6326906)
                                                              Printed name and bar number

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